                                                              (SPACE BELOW FOR FILING STAMP ONLY)
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 4
 5     ATTORNEYS FOR   Defendant,
                       CESAR MORENO
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                            * * * * * *
11   UNITED STATES OF AMERICA,                      Case No.: CR-F-07-00101 AWI
12                      Plaintiff,
                                                            WAIVER OF APPEARANCE
13         vs.                                                       AND
                                                                    ORDER
14
     CESAR MORENO
15                                                  DATE: April 28, 2008
                        Defendant.                  TIME: 9:00 a.m.
16                                                  Honorable ANTHONY W. ISHII

17   TO:   THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY'S

18         OFFICE and/or ITS REPRESENTATIVES:

19         Defendant, CESAR MORENO, by and through his attorney MARK W.

20   COLEMAN, NUTTALL & COLEMAN, hereby applies to this court for an

21   Order Waiving his Appearance at the Status Conference currently

22   scheduled for Monday, April 28, 2008, at 9:00 a.m.

23         The reason for this request is that Defendant promised his son

24   that he would take him to Disneyland for his Birthday.                        Mr. Moreno

25   plans to take his son to Disneyland during the weekend of April 26,

26   2008 and will not return until after April 28, 2008.

27         Mr. Moreno has been in continued contact with his attorney,

28   and gives his attorney full power to act on his behalf.                        The matter
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 1   of the Status Conference has been discussed.                Mr. Moreno is
 2   satisfied that all relative matters have been adequately discussed.
 3        It is hereby requested that CESAR MORENO’S appearance at the
 4   Status Conference, currently scheduled for April 28, 2008, at 9:00
 5   a.m., be excused.
 6   DATED: April 25, 2008.             Respectfully submitted,
 7                                      NUTTALL & COLEMAN
 8                                      /s/ MARK W. COLEMAN
 9
                                        MARK W. COLEMAN
10                                      Attorney for Defendant,
                                        CESAR MORENO
11
                                     **********
12
                                        ORDER
13
14        Good cause appearing, Defendant, CESAR MORENO, is hereby
15   excused from appearing at the Status Conference currently scheduled
16   for April 28, 2008, at 9:00 a.m.
17
18   IT IS SO ORDERED.
19   Dated:   April 25, 2008                 /s/ Anthony W. Ishii
     0m8i78                            UNITED STATES DISTRICT JUDGE
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